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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

   LINDA FAIRSTEIN,                               Case No.: 2:20-CV-00180-JLB-MRM

                  Plaintiff,

          v.

   NETFLIX, INC., AVA DUVERNAY,
   and ATTICA LOCKE,

               Defendants.
   _______________________________________/

                       NOTICE OF PENDENCY OF OTHER ACTIONS

          In accordance with Local Rule 1.04(c), I certify that the instant action:

   _____ IS             related to pending or closed civil or criminal case(s) previously filed in
                        this Court, or any other Federal or State court, or administrative agency
                        as indicated below:

     X        IS NOT    related to any pending or closed civil or criminal case filed with this
                        Court, or any other Federal or State Court, or administrative agency.

          I further certify that I will serve a copy of this NOTICE OF PENDENCY OF

   OTHER ACTIONS upon each party no later than fourteen (14) days after appearance of

   the party.


          Dated this 5th day of August 2020.




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of August 2020, I caused the foregoing to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.



                                               /s/ Kelley Geraghty Price


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